876 F.2d 1008
    278 U.S.App.D.C. 130
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Elijah W. RATCLIFF, Appellant,v.STATE BAR OF TEXAS, et al.
    No. 88-7267.
    United States Court of Appeals, District of Columbia Circuit.
    June 21, 1989.Rehearing and Rehearing En Banc Denied Aug. 29, 1989.
    
      Before SPOTTSWOOD W. ROBINSON, III, HARRY T. EDWARDS and D.H. GINSBURG, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This case was considered on the record on appeal from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for a published opinion.  See D.C.Cir.Rule 14(c).  It is
    
    
      2
      ORDERED AND ADJUDGED that the district court's opinion, filed September 19, 1988, be affirmed for the reasons stated therein.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein for seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 15.
    
    